EXHIBIT F
       3.     I have lived at the house at 5111 Nez Perce Road off-and-on for most of

my life.

       4.     For a lengthy period in my childhood, I lived with my grandmother and

grandfather at that house.

       5.     I have also lived there as my primary residence as recently as about eight

to ten months before I was arrested in this case.

       6.     I still have a bedroom in the house. I have the keys to the home. I come

and go freely, and I have access to all parts of the house.

       7.     At one point, my grandmother even deeded the home to me as an

advance to avoid probate when she died. I was its sole owner for a time. For tax reasons, I

deeded it back to her. The utility bills were in my name at one time and may still be.

       8.     The storage area in the garage where the contraband was found in this

case is where I stored most of my personal property. Between my grandmother and me,

it was considered to be my space. I have a key to the storage.

       9.     I would check in on my grandmother almost daily. I would use the garage

and storage area almost daily. I have an expectation of privacy in the house, garage, and

particularly the storage space.




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